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                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA


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                                            Signed and Filed: August 21, 2019
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                                            ________________________________________
 4                                          DENNIS MONTALI
                                            U.S. Bankruptcy Judge
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 6
 7                        UNITED STATES BANKRUPTCY COURT
 8                        NORTHERN DISTRICT OF CALIFORNIA
 9
     In re:                            )            Bankruptcy Case
10                                     )            No. 19-30088-DM
     PG&E CORPORATION,                 )
11                                     )            Chapter 11
                  - and -              )
12
                                       )            Jointly Administered
13   PACIFIC GAS AND ELECTRIC COMPANY, )
                                              )
14               Debtors.                     )
                                              )
15                                            )
     ☐ Affects PG&E Corporation               )
16   ☐ Affects Pacific Gas and                )
         Electric Company                     )
17                                            )
     ☒ Affects both Debtors                   )
18                                            )
     * All papers shall be filed        in    )
19   the Lead Case, No. 19-30088        (DM). )
                                              )
20
21    RECOMMENDATION FOR WITHDRAWAL OF REFERENCE OF PROCEEDING IN PART
22
     To:   Honorable Phyllis J. Hamilton,
23         Chief United States District Judge

24         A. INTRODUCTION

25         I am the assigned bankruptcy judge in the chapter 11

26   reorganization cases of PG&E Corporation and Pacific Gas and

27   Electric Company (together “Debtors” or “PG&E”) (Case Nos. 19-

28   30088-DM and 19-30089-DM).         I am making this recommendation to

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 1   you pursuant to B.L.R. 5011-2(b), the local rule that permits me

 2   as a bankruptcy judge to make such a recommendation.

 3         B. BACKGROUND

 4         These bankruptcy cases were filed on January 29, 2019.                   The

 5   filings were precipitated by the Northern California wildfires

 6   that caused billions of dollars of damage claims asserted or

 7   expected to be asserted against PG&E by victims who have

 8   suffered extensive property, personal injury and wrongful death

 9   claims (tort claims) and by insurers who have already paid or

10   are obligated to pay billions of dollars of property damage

11   claims to victims (subrogation claims).

12         Last month the Governor of California signed legislation

13   (AB-1054) that establishes a multi-billion dollar fund for

14   dealing with future wildfires.          While the legislation is

15   complex, the critical component for present purposes is that it

16   gives PG&E until June 30, 2020, to emerge from chapter 11 and to

17   deal with these massive wildfire claims.              To that end, PG&E has

18   stated recently that it intends to file proposed plans of

19   reorganization on or about September 9, 2019, and has laid out a

20   timeline intended to reach the goal of confirming chapter 11

21   plans by that deadline.        While that may seem a long way in the

22   future, and no doubt is far too long for thousands of victims,

23   the complexity of these chapter 11 cases, the requirements of

24   chapter 11 and the need for parallel hearings and rulings by the

25   California Public Utilities Commission (most of which pertain to

26   regulatory matters and contractual obligations that exist apart

27   from the wildfire claims) impose very difficult time limits on

28   all parties, including the court.
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 1         Because it would be impossible to liquidate thousands of

 2   tort claims in a matter or months, or possibly years, PG&E needs

 3   to implement the bankruptcy procedure for estimation of its

 4   unliquidated claims for its reorganization purposes.

 5         C.   APPLICABLE LAW

 6         Section 502(c) of the Bankruptcy Code (11 U.S.C. § 502(c))

 7   states that there shall be

 8              “…estimated for purpose of allowance . . . any
 9         contingent or unliquidated claim, the fixing or
           liquidation of which . . . would unduly delay the
10         administration of the case.”

11         28 U.S.C. § 157(b)(1) permits bankruptcy judges to

12   determine core proceedings; under subsection (b)(2)(B), core

13   proceedings include

14              “estimation of claims . . . for the purposes of
           confirming a plan under chapter 11 . . . but not the
15
           liquidation or estimation of contingent or
16         unliquidated personal injury tort or wrongful death
           claims against the estate for purposes of distribution
17         in a case under Title 11.”
18         28 U.S.C. § 157(b)(2)(O) delegates to bankruptcy judges
19   other core proceedings affecting liquidation of assets . . .
20   “except personal injury tort or wrongful death claims.”
21         28 U.S.C. § 157(b)(3) directs that the bankruptcy judge
22   shall determine whether a proceeding is a core proceeding or as
23   a proceeding that is otherwise related to a case under Title 11
24   (a non-core proceeding).
25   //
26   //
27   //
28   //
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 1         D.   DISCUSSION

 2         1.    Estimation Generally 1.

 3         Bankruptcy Code Section 502(c) does not provide specific

 4   guidance to the court as to the process for estimating

 5   unliquidated claims.         All parties seem to agree, however, that

 6   liquidating thousands of claims in these chapter 11 cases would

 7   unduly delay them.

 8         A bankruptcy court has core jurisdiction to estimate

 9   unliquidated claims that are not personal injury tort or

10   wrongful death claims.

11         2.    Estimation for “Purposes of Confirming a Plan” and for
12               “Purposes of Distribution”.

13         The Debtors are expected to propose reorganization plans
14   that will involve a limited or “capped” fund for distribution to
15   the wildfire victims and their insurers after plan confirmation
16   and thus provide for the discharge of preconfirmation wildfire
17   liabilities.     Consequently, the estimation of the amount of
18   money to be capped is critical for a variety of reasons; in
19   particular it is necessary to assure that the amount is
20   reasonably likely to provide for full satisfaction of the
21   victims’ claims for which it is established.
22         The cases are inconclusive (and none binding in this
23   circuit) on whether the “purposes of confirming a plan” language
24   in the statute is adequate to protect countless wildfire victims
25   who have personal injury and wrongful death claims.                  Some
26
     1    See S. Elizabeth Gibson, Judicial Management of Mass Tort
27   Bankruptcy Cases (Fed. Jud. Ctr. 2005), pp. 88-100, for helpful
     background information and a more detailed explanation of the
28   estimation process.
                                    -4-


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 1   conclude that the estimation process is enough to fix the amount

 2   of the required fund, leaving for another day the determination

 3   of individual claimants’ entitlement to a share of that fund as

 4   part of the “purposes of distribution” language of the statute.

 5   Others recognize that the two concepts cannot be unbundled and

 6   that the rights of the tort victims must be protected by the

 7   Article III judge’s overseeing of that aspect of the non-core

 8   estimation process.

 9         I anticipate that as part of that process the supervising

10   judge will consider briefing and argument from the

11   representative committees of tort fire victims and subrogation

12   claimants on the one hand, and the Debtors on the other hand, to

13   fully explain their views on these issues to assist the judge in

14   reaching the right conclusions.

15         3.    Personal Injury and Wrongful Death Claims.

16         The statute is silent as to whether the “unliquidated

17   personal injury tort or and wrongful death claims” language

18   includes or excludes claims arising from emotional distress or

19   similar theories of recovery.          Some cases construe the statute

20   narrowly and suggest that emotional distress claims can be

21   excluded from the “estimation for confirmation” analysis; others

22   conclude that the statute should be construed broadly and thus

23   emotional distress claims must be included as part that

24   analysis, rather than considered only in the “purposes of

25   distribution” analysis.

26         These questions, too, should be the subject of further

27   briefing by the parties and resolved by the Article III judge.

28   //
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 1         4.    Property Damage Claims.

 2         Billions of dollars are now claimed or expected to be

 3   claimed by insurers who have reimbursed victims for their

 4   property losses and thus are subrogated to their claims.                    There

 5   are also millions if not billions of dollars of claims for

 6   personal property damages and other losses suffered by all types

 7   of governmental agencies.         Further, there are no doubt thousands

 8   of claimants who have suffered losses of property of all types

 9   and do not have personal injury or wrongful death claims.

10         5.    Additional Problems.

11         PG&E must deal with liabilities arising from more than

12   twenty separate fires, perhaps from as many different causes.

13   Whether just the larger ones are all that are necessary for

14   estimation, or groups of them, or some other approach, must be

15   considered.      Because property damage claims, whether held by the

16   original victims or by subrogated parties, may not include

17   personal injury claims of the claimants.              That raises the yet

18   unanswered question of whether there should be separate

19   estimation proceedings involving those claims.

20         My list is by no means complete, but only illustrative of

21   the myriad problems that must be dealt with.

22         The estimation process will involve determining a correct

23   amount to deal with all of the foregoing to arrive at an

24   estimated amount to be dedicated for the benefit of the victims.

25   Even how to structure the process itself will require

26   consideration of various ways that have been utilized by other

27   courts. 2   And the mere size and breadth of the wildfires and the

28   2    See Prof. Gibson’s examples, id at 90.
                                    -6-


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 1   claims that will be considered might lead to innovative

 2   procedures that have never been attempted before. 3

 3         E.   RECOMMENDATION

 4         I recommend that the District Court order the partial

 5   withdrawal of the reference of the Section 502(c) estimation of

 6   unliquidated claims arising from the Northern California

 7   wildfires.       The stakes are very high and these several complex

 8   issues are inexorably intertwined.              For those reasons I believe

 9   that an Article III judge should decide:

10         1.    Under 28 U.S.C. § 157(b)(3), what aspects of the

11               unliquidated claims estimation are core proceedings

12               and what aspects are non-core?             In and of itself, that

13               would appear to be a straight forward question the

14               statute leaves to the bankruptcy judge.                But because

15               of the intersection of the issues I have outlined and

16               the ramifications of the answers to the questions

17               presented, the Article III judge should make the

18               decision.

19         2.    Whether personal injury and wrongful death claims

20               include or exclude damages due to emotional distress

21               (or any similar theory of recovery)?

22
23
24
25
     3   My recent decision to permit a trial to proceed in San
     Francisco Superior Court regarding the Tubbs fire was intended,
26   in part, to provide information to inform the tier of fact as to
     a critical date point as part of the anticipated estimation
27   process.
28
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 1         3.    The schedule for and method of the conduct of the

 2               estimation proceedings. 4

 3         4.    The 11 U.S.C. 502(c) estimation of unliquidated

 4               personal injury and wrongful death claims against

 5               Debtors for all purposes under 28 U.S.C. § 157(b)(2).

 6         F.   TIMING

 7         B.L.R. 9015-2(b) deals with the duties of a bankruptcy

 8   judge when a party has a right to a jury trial and has made a

 9   timely demand.      That rule is instructive for a procedure that

10   seems appropriate here.        It requires the bankruptcy judge to

11   resolve all pretrial matters including dispositive motions and

12   to report to the District Court when the matter is “suitable for

13   a withdrawal”.      Because there are numerous pretrial matters

14   pertaining to the estimation process, I recommend that the court

15   order withdrawal of the reference as set forth above, designate

16   the assigned judge, but defer the effective date of that

17   withdrawal until: I have completed those preparatory matters;

18   briefed the assigned judge on the status of these preparations;

19   have been instructed by that judge as to any desired preliminary

20   status conferences to be held, any briefing schedules to be

21   promulgated, possible input from the parties to be solicited, or

22   other procedures to be implemented; and that judge has directed

23   that the partial withdrawal become effective for all purposes.

24                          ***END OF RECOMMENDATION***

25
26
     4   Not included, but as part of the estimation process, is
27   PG&E’s contention that California’s inverse condemnation
     doctrine does not apply to it as a privately-owned utility.
28   That will be briefed and argued before me as a matter of law.
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